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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION

APRIL MARIE WALKER, STEPHEN WALKER, *                      CIVIL ACTION NO. 2:21-cv-00923
and JAMES WALKER, Individually and on behalf *
of FRANK AARON WALKER, deceased,             *
                                             *
                        Plaintiffs,          *
                                             *
      VERSUS                                 *             JUDGE JAMES D. CAIN, JR.
                                             *
MOTOROLA MOBILITY, LLC; ET AL,               *
                                             *
                        Defendant.           *             MAGISTRATE JUDGE
                                             *             KATHLEEN KAY
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                                             ORDER

       Considering the foregoing Motion to Join In and Adopt Motion to Dismiss Filed by Co-

Defendants by Defendant, ZTE Corporation:

       IT IS ORDERED, ADJUDGED, AND DECREED that Defendant, ZTE Corporation, is

permitted to join and adopt the Motion to Dismiss and Memorandum in Support filed by co-

Defendants Motorola Mobility, LLC; Motorola Solutions, Inc. f/k/a Motorola, Inc.; Motorola, Inc.;

Microsoft Mobile, Inc.; HMD Global Oy; AT&T Mobility LLC; Cricket Wireless LLC f/k/a

Cricket Communications, LLC; and Cellular Telecommunications and Internet Association f/k/a

Cellular Telecommunications Industry Association a/k/a CTIA, Inc. a/k/a CTIA-The Wireless

Association, and is permitted to pray for the relief requested therein as if that motion was filed on

behalf of ZTE Corp., if its Motion to Dismiss for Lack of Personal Jurisdiction is not granted.

       THUS DONE AND SIGNED in Chambers this 28th day of October, 2022.




                                              JAMES D. CAIN, JR.
                                              UNITED STATES DISTRICT JUDGE
